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EXHIBIT K

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BVT,
ROWENHORST,JAMES MK BIPUS
From: ROWENHORSTJAMES MK BIPUS
Sent: Tuesday, June 06, 2000 12:01 PM
To: GAROFALO,ELIZABETH MK BIPUS
Ce: CIARELLI,GREGG MK BIPUS; RICHARDSON,SCOTT MK BIPUS
Subject: Combivent UDV Spreadsheet
Elizabeth,

Attached is the UDV reimbursement spreadsheet. | hid some of the rows to avoid confusion. The Combivent UDV AWP
in BOLDED RED can be adjusted to affect the results in Example 4.

CB UDV rewans

"Depending on the results of HCFA's attempt to regulate prices for drugs in the Medicare program (see WSJ article
below), the margins that the home health companies currently enjoy on the generic albuterol and ipratropium, will be
severely reduced. This could make Combivent with a higher AWP more altractive for the home health industry.

in addition, generic ipratropium ts not listed as a Federal Upper Limit drug (otherwise known a5 Maximum Allowable Cost
{[MAC]) in the Medicaid system, however individual states have the authority to implement their own MACs.

it is my recommendation, based on the reimbursement mechanisms in the retail, hospital and home health sectors, that
we focus on a higher AWP and WAC and develop discount and rebate initiatives thet will keep us compete with Dey in
this market. | would also keep in mind that we have better contract relationships with the PBMs and MCOs to drive this
product through those organizations.

Regards,

Jim

Medicare Plans Major Overhaul,

Targets Massive Overpayments

By LAURIE MCGINLEY and DAVID S, CLOUD
Staff Reporters of THE WALL STREET JOURNAL

WASHINGTON — Medicare is poised to begin a major overhaul of its drug-reimbursement procedure to stop
what investigators say are massive overpayments due to misleading industry pricing practices.

The Health Care Financing Administration is expected within days to notify private insurance companies that
process Medicare claims that they should switch to more accurate pricing information for dozens of drugs,
administration officials said. These insurance companies set reimbursement levels for doctors and other providers
buying the limited number of drugs covered by Medicare, the federal health program for the elderly.

The change will involve dozens of drugs that government investigators believe are responsible for much of the
Medicare overpayment problem. When fully implemented, it could save hundreds of millions of dollars a year,
according to knowledgeable officials.

The move would follow a similar step taken recently to ensure that more accurate pricing information is used for
Medicaid, the state-federal program for the poor and disabled.

I
Medicare and Medicaid have different reimbursement procedures, but both rely on t|

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or AWP, of drugs, or a similar benchmark, for setting payments.

State and federal officials believe that some drug companies are reporting artificially inflated AWPs to industry
guides that are used for government-reimbursement purposes. The companies actually sell the products to
doctors and other providers at deep discounts. The result: Doctors and providers can make a fat profit on every
dose.

Medicare generally doesn't pay for prescription drugs and covers a relatively small number of them. Those
inchide pharmaceuticals administered in a doctor's office, such as cancer drugs, or at home with such equipment
as pumps.

By contrast, Medicaid pays for a wide selection of pharmaceuticals, although the products with inflated AWPs
are a small percentage, officials say. In any case, the two programs bave been overpaying by at least $1 billion a
year for pharmaceuticals, according to government estimates.

The Medicare action will be described in a letter from the Clinton administration to House Commerce Committee
Chairman Thomas Bliley. On May 5, the Virginia Republican wrote to Health and Human Services Secretary
Donna Shalala to express concern about "excessive reimbursements” for Medicare drugs and demand a report on
efforts to resolve the problem. In addition, Rep. Fortney H. Stark, a California Democrat, has long pressed
Medicare to scale back its drug reimbursements. A spokesman for the HCFA declined to comment on the coming
change in procedures.

For the past several years, the Clinton administration has proposed lowering payments for Medicare-covered
drugs but has been mostly rebuffed by Congress. In 1997, Congress made a minor change, reducing Medicare
reimbursements to 95% of the average wholesale price, Previously, reimbursements were set at 100% of the
AWP.

} Drug companies have repeatedly said that they haven't manipulated the data and are complying with the law.
, Even if the price information that companies list isn’t accurate, they say, the government has long known that
wholesale drug prices are loose estimates.

The HCFA, which runs the Medicare program, will urge claims processors to use alternative prices developed by
government~fraud investigators, who examined prices listed in wholesale catalogs sent to doctors and other
providers. Usually, the contractors consult an industry price guide in setting reimbursement levels.

The average wholesale prices for Medicaid-covered drugs are supplied directly to the states by First DataBank
Inc,, a division of Hearst Corp., in San Bruno, Calif. On May 1, under pressure from the fraud investigators, First
DataBank began switching to the more accurate prices for 50 drugs.

The Medicare change is coming even as some providers are protesting the Medicaid changes. Tim Webster,
executive director of the American Society of Consultant Pharmacists, said the changes were made without
proper notice. "We think this was all kind of done in the dead of night," he said. Mr. Webster's group and other
pharmacist groups sent a letter to state Medicaid directors May 25 asking them to "put aside” the changes
adopted by First DataBank.

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